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PROB 35           ORDER TERMINATING SUPERVISED RELEASE
                        PRIOR TO EXPIRATION DATE


                        UNITED STATES DISTRICT COURT
                                  FOR THE
                       EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                      )
                                              )
                         vs.                  )    Docket Number: 2:04CR00410-003
                                              )
IAN REYNOLDS                                  )
                                              )


On February 23, 2005, the above-named was placed on supervised release for a period of
3 years which commenced on February 9, 2006. He has complied with the rules and
regulations of supervision. It is accordingly recommended that he be discharged from
supervision.

                               Respectfully submitted,

                                /s/ Cynthia J. Mazzei

                                CYNTHIA J. MAZZEI
                           United States Probation Officer

Dated:      December 4, 2007
            Sacramento, California


REVIEWED BY:       /s/ Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer




                                                                              Rev. 03/2005
                                                                             PROB35.MRG
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Re:   Ian REYNOLDS
      Docket Number: 2:04CR00410-003
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that Ian Reynolds be discharged from supervised release, and that the
proceedings in the case be terminated.




December 13, 2007
Date                                    HONORABLE LAWRENCE K. KARLTON
                                        Senior United States District Judge

CJM:jz
Attachment:   Recommendation

cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




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                                                                           PROB35.MRG
